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 8                             IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     NATHAN DESHAUN JONES,                                 Case No. 2:22-cv-01890-DB P
12
                                               Plaintiff, ORDER
13
                     v.
14

15   R. MAYR,
16                                          Defendant.
17

18         Plaintiff is a state prisoner proceeding pro se with a civil rights action under 42 U.S.C.

19   §1983. In an order filed March 27, 2024, this court set a pretrial schedule. (ECF No. 31.)

20   Plaintiff’s pretrial statement and any motions for the attendance of witnesses at trial was due May

21   30, 2024. Defendant’s statement was due on June 14. Plaintiff has not filed pretrial statement.

22   Defendant requests an extension of time to file his pretrial statement based on plaintiff’s failure to

23   file one.

24         Defendant’s request will be granted. In addition, plaintiff is advised that he must file a

25   pretrial statement if he wishes to proceed with this action. Plaintiff will be given fourteen days

26   from the date of this order to do so. If plaintiff fails to file a pretrial statement, this court will

27   recommend this case be dismissed for plaintiff’s failure to prosecute and failure to comply with

28   court orders. Fed. R. Civ. P. 41; E.D. Cal. R. 110.
          Case 2:22-cv-01890-DB Document 33 Filed 06/21/24 Page 2 of 2


 1           Accordingly, and good cause appearing, IT IS HEREBY ORDERED that

 2           1.     Defendant’s motion for an extension of time (ECF No. 32) is granted. Defendant’s

 3                 pretrial statement will be due thirty days after plaintiff files a pretrial statement.

 4           2. Within fourteen days of the date of this order, plaintiff shall file his pretrial statement

 5                 and any motions for the attendance of witnesses at trial, as described in the March 27

 6                 order. If plaintiff fails to file a pretrial statement, this court will recommend this action

 7                 be dismissed.

 8   Dated: June 20, 2024
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